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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

United States of America,                              *

                                                       *
      v.                                                        Case No. 14-cr-00186-RDB
                                                       *        &DVH1RFY5'%
RICHARD BYRD, ET AL
      Defendant.                                       *

                                MOTION FOR ADMISSION PRO HAC VICE

            I, Michael R. Sklaire                 , am a member in good standing of the bar of this

Court. I am moving the admission of Lee Ann Anderson
                                                   Richard Byrd
to appear pro hac vice in this case as counsel for ______________________________________.


            We certify that:

            1. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                     State Court & Date of Admission           U.S. Court & Date of Admission
               District of Columbia, 1995                  U.S. Supreme Court, 1995
               New York, 1994                              U.S. Court of Appeals 4th Circuit, 1994
               South Carolina, 1992



            2. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            3. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

            4. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.




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             Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

             We hereby certify under penalties of perjury that the foregoing statements are trueand
               correct.




MOVANT                                                   PROPOSED ADMITTEE
 V0LFKDHO56NODLUH                                  V/HH$QQ$QGHUVRQ
Signature                                                Signature
Michael R. Sklaire, MD 16871                             Lee Ann Anderson, DC 445740
Printed name and bar number                              Printed name and bar number
Greenberg Traurig LLP                                    Greenberg Traurig LLP
Office name                                              Office name

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